
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant, an inmate at the Southwestern Regional Jail in Holden, Logan County, seeks $39.16 for items of personal property that were entrusted to respondent. When claimant sent his clothes to the jail’s laundry facility, his clothes were misplaced. *259Claimant seeks reimbursement for three pairs of underwear ($4.36 each), three undershirts ($4.36 each), one thermal top ($6.50), and one thermal bottom ($6.50). In its Answer, respondent admits the validity of the claim and that the amount is fair and reasonable.
This Court has taken the position in prior claims that if a bailment situation has been created, respondent is responsible for property of an inmate which is taken from that inmate, remains in its custody, and is not produced for return to the inmate.
Accordingly, the Court makes an award to the claimant herein in the amount of $39.16.
Award of $39.16.
